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                       UNITED STATES OF AMERICA
                            DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

                   CRIMINAL NO. 2021-MJ-05202-013

                      UNITED STATES OF AMERICA

                                   V.

                              BRUNO ABREU

                    MOTION FOR DETENTION HEARING

     Now comes the defendant and respectfully moves this

Honorable Court to conduct a detention hearing.         Based on

various scheduling issues, the defendant requests that the Court

set the hearing for the afternoon of July 15, 2021.         That date

and time is amenable to the government.

     Previously, the defendant stipulated to detention without

prejudice.   He is detained at the Wyatt detention facility.

                                 Respectfully Submitted,
                                 BRUNO ABREU,

                                 By his attorney:

                                 /s/ Thomas Kerner
                                 __________________
                                 THOMAS KERNER
                                 MA BBO # 552373
                                 Attorney at Law
                                 240 Commercial St., Suite 5A
                                 Boston, MA 02109
                                 (617) 720-5509
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                       CERTIFICATE OF SERVICE

     I certify that this document filed through the ECF system
will be sent electronically to the registered participants as
identified on the Notice of Electronic Filing [NEF] and paper
copies will be sent to those indicated as non-registered
participants.

Date:     7/6/2021                      /s/ Thomas Kerner
                                        ________________
                                        Thomas Kerner
                                        BBO# 552373




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